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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 22-20609-Civ-SCOLA

  MICHEL KUMBAZ KILZI,

           Plaintiff,
  v.


  ALL SMOOTH LAWN MAINTENANCE &
   LANDSCAPING, INC., a Florida profit
  corporation D/B/A ALL SMOOTH LAWN
  MAINTENANCE & LANDSCAPING, and
  ISMAEL GARCIA, individually,


         Defendants.
  _________________________________________/
                                       ORDER OF DEFAULT

         A default is entered in this action against Defendants, ALL SMOOTH LAWN

  MAINTENANCE & LANDSCAPING, INC., D/B/A ALL SMOOTH LAWN MAINTENANCE

  & LANDSCAPING a Florida Profit Corporation, and ISMAEL GARCIA, forr failure to serve or

  file any paper as required by law.



         Dated on this _____ day of ____________________, 2022.

                                            CLERK OF THE CIRCUIT COURT
  (SEAL)

                                            As Clerk of the Court

                                             By: _______________________________
                                             As Deputy Clerk
  Copies Furnished:

  All Parties and Counsel of Record
